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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA


                                     MEMORANDUM



Honorable Morrison C. England, Jr.           RE: Michael Tungthanh Tran
Chief United States District Judge               Docket Number: 0972 2:10CR00347-008
Sacramento, California                           PERMISSION TO TRAVEL
                                                 OUTSIDE THE COUNTRY

Your Honor:


Michael Tungthanh Tran is requesting permission to travel to Mexico on a cruise for a family
vacation. Mr. Tran has been on Supervised Release since November 29, 2012. He is currently
working full-time and is in compliance with all terms and conditions of his supervision. The
probation officer recommends approval be granted.


Conviction and Sentencing Date:        On November 29, 2012, Mr. Tran was sentenced for the
offense(s) of 21 USC 846 and 841(a)(1) and (b)(1)(A) – Conspiracy to Distribute and Possess
with Intent to Distribute MDMA and BZP, Class C Felony.


Sentence Imposed: Time served; 36 months Supervised Release; $100 Special Assessment.
Special conditions of supervision include warrantless search; financial disclosure; financial
restrictions; drug/alcohol treatment; drug/alcohol testing; abstain from alcohol; aftercare co-
payment; and drug offender registration.


Dates and Mode of Travel:        Mr. Tran plans to fly with his family to Los Angeles on
February 16, 2014, and they will depart from a port in Los Angeles on a cruise ship to Mexico.
They will return to port on February 21, 2014, and fly back to Sacramento.




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                                                                                      REV. 05/2013
                                                       TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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Purpose: The offender’s sister’s fiancé was diagnosed with Stage 3 colon cancer and has been
undergoing chemotherapy treatments. His sister decided to spend the money they were going to
use for their wedding to take their families on a vacation together.


                                      Respectfully submitted,

                                         /s/ Wendy Reyes

                                        Wendy Reyes
                                United States Probation Officer

Dated:     February 6, 2014
           Elk Grove, California
           WER/lr


                               /s/ Deborah A. Spencer
 REVIEWED BY:               DEBORAH A. SPENCER
                            Supervising United States Probation Officer




                              ORDER OF THE COURT

      XX      Approved        ☐       Disapproved


Dated: February 10, 2014




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                                                                                        REV. 09/2013
                                                         TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
